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 1                UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF MASSACHUSETTS
 2
                                                 Criminal No.
 3                                               03-10346-WGY

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 6   * * * * * * * * * * * * * * * * *
                                     *
 7   UNITED STATES OF AMERICA        *
                                     *
 8   v.                              *   SENTENCING EXCERPT
                                     *
 9   RAMAL ROBINSON                  *
                                     *
10   * * * * * * * * * * * * * * * * *

11

12               BEFORE:   The Honorable William G. Young,
                               District Judge
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                                          1 Courthouse Way
24                                        Boston, Massachusetts

25                                        October 29, 2008
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 1            THE COURT:   Very well.

 2            All right, the Court --

 3            MS. FRIED:   Should he stand?

 4            THE COURT:   -- finds, in consideration of the

 5   violation of the terms of supervised release, the Court

 6   orders the supervised release revoked and remands

 7   Mr. Robinson to a period of six months in home confinement

 8   such home confinement to commence three weeks from today,

 9   specifically, on --

10            MS. FRIED:   That would be November 19th.

11            THE COURT:   -- November 19th, 2008.

12            During the period of home confinement, Mr.

13   Robinson, you may leave the home to work.     You may leave the

14   home to attend medical appointments both for yourself and

15   for your child, but no others.     You may leave the home to do

16   shopping for necessities for the home, that's groceries and

17   other things that are necessary for the upkeep of the

18   apartment where you are living.     You may leave the house for

19   the purpose of attending religious services.     You may leave

20   the house if you have a scheduled appointment with your

21   attorney, but not simply to go and see if you can't talk to

22   her, you have to have a scheduled appointment.

23            Now, other than that you're to be in that house and

24   if you are not it will be a violation.

25            A new term of supervised release is imposed
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 1   thereafter with all the same requirements of supervised

 2   release save that you'll be at liberty which term will

 3   end --

 4               MR. CONNOLLY:   It's -- it would be August 16th,

 5   '09.     So we would just ask the Court to impose a new term of

 6   supervised release of three months.

 7               (Whereupon Mr. Connolly and Mr. Smith conferred.)

 8               MR. CONNOLLY:   Oh, it is.   Oh, it's just from

 9   today.     Sorry.   So we just go to the end date?

10               MR. SMITH:   Yes, to the original end date.

11               MR. CONNOLLY:   To the original end date, I'm sorry.

12               THE COURT:   Right.   Of August --

13               MR. SMITH:   August 16th, 2009.

14               THE COURT:   All right.   Which term will end

15   August 16th, 2009.

16               Mr. Smith, anything else?

17               MR. SMITH:   Your Honor, just also that Mr. Robinson

18   will be responsible for the financial part of the electronic

19   monitoring.     I believe it's $3.25 per day.

20               THE COURT:   The usual, the usual order, he will be

21   responsible for the contribution towards the payment for

22   electronic monitoring.

23               That's the sentence of the Court.

24               Mr. Robinson, you have the right to appeal from any

25   findings or rulings the Court has made against you.         Should
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 1   you appeal and should your appeal be successful in whole or

 2   in part and the case remanded you'll be resentenced before

 3   another judge.

 4            Ms. Fried, should an appeal be decided on, I want

 5   you to order transcript from this Court before filing a

 6   notice of appeal because I'll turn it around right away.

 7            Do you understand?

 8            MS. FRIED:   I do understand, and I do not expect

 9   there will be any notice of appeal filed.

10            THE COURT:   Now --

11            MS. FRIED:   I'm sorry.

12            THE COURT:   -- this sentence, I'll just put as part

13   of the recitation, this sentence is premised on the Court's

14   belief that the residence in that apartment will be

15   appropriate for the purposes of house arrest.   Should

16   probation not so find this matter may be reopened at any

17   time in the next three weeks and we will consider what

18   further to do.

19            MS. FRIED:   Thank you.

20            THE COURT:   Ms. Fried?

21            MS. FRIED:   And I just want to be sure that it's

22   understood that my client is able to remain on the

23   conditions that he's remained on up until today's date

24   pending the three weeks.

25            THE COURT:   That is my understanding, but let's get
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 1   it clear from probation.

 2            Same conditions --

 3            MR. SMITH:   Exactly.

 4            THE COURT:   -- until the house arrest.    He has that

 5   six month period to serve, that will kick in in three weeks,

 6   for six months, and that's how you understand it?

 7            MR. SMITH:   Exactly, your Honor.

 8            THE COURT:   Same conditions between now and then.

 9            MS. FRIED:   Thank you very much.

10            THE COURT:   That's the sentence of the Court.

11   We'll recess.

12            MR. CONNOLLY:     Thank you, your Honor.

13            MR. SMITH:   Thank you.

14            MS. FRIED:   Thank you.

15            THE CLERK:   All rise.    Court is in recess.

16            (Whereupon the matter concluded.)

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